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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

 IN RE: RAIL FREIGHT FUEL SURCHARGE                    MDL Docket No. 1869
 ANTITRUST LITIGATION                                  Misc. No. 07-0489 (BAH/GMH)


 This document relates to: ALL CASES


 IN RE: RAIL FREIGHT FUEL SURCHARGE                    MDL Docket No. 2925
 ANTITRUST LITIGATION (NO. II)                         Misc. No. 20-8 (BAH)


 This document relates to: ALL CASES                   PUBLICLY FILED VERSION

                                                       Oral Argument Requested


     [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO EXCLUDE
         FALSE POSITIVES ECONOMETRIC OVERCHARGE MODELS

       Upon consideration of Defendants’ Motion to Exclude False Positives Econometric

Overcharge Models, dated July 17, 2024, together with the papers and arguments submitted in

support of and opposition to the Motion, it is hereby ORDERED:

       Defendants’ Motion to Exclude False Positives Econometric Overcharge Models is

GRANTED.



IT IS SO ORDERED.


Dated: ________________________                  ______________________________
                                                 Hon. Beryl A. Howell
                                                 United States District Court Judge
